8:07-cr-00030-RFR-MDN          Doc # 125      Filed: 04/17/08      Page 1 of 1 - Page ID # 475




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )              8:07CR30
                                                    )
       vs.                                          )               ORDER
                                                    )
THIRUGNANAM RAMANATHAN,                             )
                                                    )
                      Defendant.                    )




       This matter is before the court on the joint motion for a continuance of the trial of this
matter by defendant Thirugnanam Ramanathan (Ramanathan) and the government (Filing
No. 123). The parties seek a continuance of trial scheduled for April 29, 2008.
Ramanathan has submitted an affidavit in accordance with paragraph 9 of the progression
order whereby Ramanathan consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Upon
consideration, the motion will be granted and trial will be continued.


       IT IS ORDERED:
       1. The joint motion to continue trial (Filing No. 123 ) is granted.
       2. Trial of this matter is re-scheduled for June 17, 2008, before Judge Laurie
Smith Camp and a jury. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between April 17, 2008 and
June 17, 2008, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason that the parties require additional time to
adequately prepare the case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


DATED this 17th day of April, 2008.
                                                            BY THE COURT:
                                                            s/Thomas D. Thalken
                                                            United States Magistrate Judge
